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 9           IN THE UNITED STATES DISTRICT COURT
10         FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                            Case No. Misc. 21-43 DMG (MRWx)
13     UNITED STATES OF AMERICA,
14                     Petitioner,
                                            ORDER ACCEPTING FINDINGS
15                v.                        AND RECOMMENDATIONS OF
                                            UNITED STATES MAGISTRATE
16     SPACE EXPLORATION                    JUDGE
       TECHNOLOGIES CORP. d/b/a
17     SPACEX,
18                     Respondent.
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21          Pursuant to 28 U.S.C. § 636, the Court reviewed the Application, the
22     records on file, and the Report and Recommendation of the United States
23     Magistrate Judge. Further, the Court has engaged in a de novo review of
24     those portions of the Report to which Respondent has objected, and the
25     government’s response. The Court accepts the findings and recommendation
26     of the Magistrate Judge.
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     Case 2:21-mc-00043-DMG-MRW Document 29 Filed 06/30/21 Page 2 of 2 Page ID #:343



 1          IT IS ORDERED that the Application for an order compelling

 2     compliance with the government’s subpoena is GRANTED and judgment is

 3     entered in the government’s favor.

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       DATED: June 30, 2021                 ___________________________________
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                                            DOLLY M. GEE
 7                                          UNITED STATES DISTRICT JUDGE
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